






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-00-00243-CR







Edward Bell, Appellant




v.




The State of Texas, Appellee








FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 119TH JUDICIAL DISTRICT


NO. B-98-0433-S, HONORABLE DICK ALCALA, JUDGE PRESIDING








	Appellant Edward Bell appeals his conviction for capital murder.  Tex. Pen. Code
Ann. § 19.03(a)(3) (West 1994).  After the jury found appellant guilty, the trial court assessed
punishment at life imprisonment, the State having waived the death penalty.


Points of Error


	Appellant advances three points of error.  First, appellant challenges the legal
sufficiency of the evidence to support his conviction for capital murder.  Second, appellant urges that
the trial court erred in overruling his objection to an application paragraph of the jury charge relating
to parties in this capital murder case for remuneration.  Appellant contends that he could not be
guilty as a party when the primary actor, Luis Ramirez, was not guilty of this aggravated element
(remuneration) of the offense charged.  Third, appellant contends that under Rule 403 of the Texas
Rules of Evidence, the trial court erred in admitting into evidence a handwritten note of Luis
Ramirez found in appellant's wallet because its probative value was outweighed by the danger of
unfair prejudice and the needless presentation of cumulative evidence.  We will affirm the
conviction.


Indictment


	The indictment in pertinent part charged that appellant on or about April 8, 1998 "did
then and there intentionally cause the death of an individual, namely, Nemecio Nandin, by shooting
the said Nemecio Nandin with a deadly weapon, to wit: a firearm, for remuneration and the promise
of remuneration from Luis Ramirez."


Background


	The facts of the case are important in view of appellant's claim that the evidence is
legally insufficient to sustain the capital murder conviction, and to place the other points of error in
proper perspective.

	On April 16, 1998, the decomposing body of twenty-nine year-old Nemecio Nandin
was found buried in a shallow grave near the home of Richard and Lana Riordon on a fifty-acre tract
between Orient and Tennyson in far northeast Tom Green County.  The medical examiner
determined that the cause of death was two shotgun blasts to the head, at least one of which was
caused by a twenty-gauge shotgun.  

	Nandin was a firefighter for the San Angelo Fire Department.  His off-duty business
was repairing washing machines and dryers.  Nandin was last heard from around noon on April 8,
1998, when he called his girlfriend, Carla (1) Bewick, to tell her he was headed to a business call to
repair a washer and a dryer, and that he would call her when he got back into San Angelo that
evening.  Bewick, who testified that her relationship with Nandin was an on-again, off-again one,
related that when Nandin did not call as promised and did not respond to her calls to his cell phone
or pager, she became concerned.  Later in the day, when she went to the Wal-Mart store on North
Bryant Street in San Angelo, she saw Nandin's pick-up truck with a washer and dryer parked near
the rear of the store.  The truck was unlocked.  Nandin was not to be found in the store.  When
Bewick returned to the store later in the evening, the truck was still there.  She was unable to contact
Nandin the next morning at the fire department.  He had not reported for work.  His co-workers
organized a search.  As noted, his body was found on April 16, 1998.

	Dawn Ramirez Holquin had remarried after the offense but prior to the time of the
trial.  She testified that she married Luis Ramirez in 1985.  They had two children and lived in Las
Vegas, Nevada, before moving to San Angelo in 1992.  She related that Luis was an angry, jealous,
and domineering man who had to be in control of everything; that their marriage was very turbulent,
very violent and "not happy"; and that she got a divorce in November 1995.  Dawn testified that she
did not date for a long period after the divorce because of Luis's jealousy.  He told her that "it drove
him crazy to think that you are with other men."

	Dawn related that she first met Nemecio Nandin in June 1995 when he repaired her

dryer.  She encountered him again in October 1997 when he came to the Town and Country store, 
where she was employed, to purchase hot chocolate.  He called her at work that evening to thank her
for the hot chocolate.  Luis was in the store at the time.  She and Nandin began dating.  Dawn
decided to move to Austin to get away from Luis.  On Saturday, December 20, 1997, Nandin came
by her San Angelo home at 7:30 a.m. to tell her goodbye.  While Nandin was there, Luis began
telephoning, telling Dawn to get rid of whomever was there.  She learned that Luis was calling from
a grocery store two blocks away.  After Luis had called seven or eight times, Nandin took the phone
and told Luis to leave Dawn alone and that her life was none of Luis's business.  Later, Dawn heard
a noise and opened the front door to find her children there.  She saw Luis driving away.  It was
Luis's weekend with the children and he had only picked them up the night before.

	Dawn revealed that she saw Nandin again on December 26, 1997, when she brought
the children to San Angelo for their visitation with their father; that on the last week-end in March
1998 Nandin came to Austin to see her; that the following week-end in early April 1998, her children
returned from their visitation with their father; that her daughter reported that her father (Luis) had
become upset when told the children liked Nandin; and that Luis had stated he would take care of
the problem.  Dawn related that Luis had once told her that "if he found out that I was with another
man, he would kill him and then come after me."

	From around Thanksgiving Day of 1997 until the early part of April 1998, appellant
Bell, his girlfriend, Lisa McDowell, and a young child lived with the Riordons on their property near
the Tennyson Road where Nandin's body was later found.  Due to the objections of the Riordons'
landlord, appellant, McDowell, and the child moved in with Timothy and Nicole Hoogstra in their
house in San Angelo.  Hoogstra and appellant had been co-workers on several different construction
sites.  Neither appellant nor McDowell had jobs at the time they moved.  Shortly after the move
when Hoogstra was working on his truck, appellant told him that a man named "Luis" was going to
hire him (appellant) to kill a fireman for $1,000.00.  Later, appellant told Hoogstra that he "had done
it" and to watch for it on the news.  When Hoogstra learned that Nandin, a fireman, was missing, he
questioned appellant about the matter.  Appellant told Hoosgstra that "they" (appellant Bell and Luis
Ramirez) had lured Nandin to a location on Tennyson Road to service a washer and dryer; that
"they" put a gun to Nandin's head and placed handcuffs on Nandin; and that "they" blew Nandin's
brains out with a shotgun and buried Nandin's body behind a chicken house.  Appellant explained
that the ground was "real hard," Nandin was a big man, and they had a difficult time in burying the
body.  Hoogstra recalled that appellant "giggled" when relating that "they" blew the fireman's brains
out.  While appellant did not specifically say who fired the shots, he later told Hoogstra that Luis
Ramirez had pulled the trigger.  Appellant explained that he and Luis had done this to Nandin
because the fireman was seeing Luis's wife, or Luis was seeing the fireman's wife, "one way or the
other."

	Appellant also told Hoogstra that after the burial, he put on gloves and drove
Nandin's pick-up truck back to San Angelo and parked it at the rear of the old Wal-Mart store on
North Bryant.  Appellant left the washer and dryer in the truck, but threw away Nandin's cell phone
and pager.  Later, appellant gave Hoogstra a pair of handcuffs which he said had been used on
Nandin.  After appellant left for Tyler, Hoogstra gave the handcuffs to the police.  These handcuffs
were shown to be the same brand of handcuffs purchased by Luis Ramirez in 1991 in Las Vegas,
Nevada, where Ramirez worked briefly as a security guard.

	On April 14 or 15, 1998, Hoogstra went with Lee Westerman to do construction work
on a lake house in Brownwood.  Hoogstra told Westerman of his conversation with appellant. 
Westerman had Hoogstra call Crime Stoppers from Brownwood.  Either that day or another in April
when Westerman brought Hoogstra home, Westerman met appellant.  Appellant told Westerman that
the police had been at Hoogstra's home that day, and he did not know whether it was because of a
fight with his girlfriend, or whether it was for the "other thing" that would "get him either life or
death in prison."

	Lisa McDowell, appellant's girlfriend, related that early on the morning of April 8,
1998, she and appellant had gone to the Riordons' home on Tennyson Road to pick up some clothes
they had left behind when they moved.  After the Riordons went to work, she got into an argument
with appellant.  She left him behind and took her infant son and drove to her aunt's house in San
Angelo.  That afternoon, Luis Ramirez dropped appellant off at the aunt's house.  Appellant and
McDowell then drove to the Miles High School to pick up the Riordon children from school as
McDowell had promised.  On the way, McDowell observed appellant throw a latex glove or gloves
out of the car window.  Sometime later, McDowell returned to this particular stretch of highway with
police officers.  A latex glove was found as well as the keys to Nandin's pick-up truck.

	On April 16, 1998, appellant and McDowell left San Angelo for Tyler.  He
supposedly had a construction job in the area.  Appellant had $200 which he told McDowell had
been given to him by Luis Ramirez.  Appellant was arrested in a trailer park near Whitehouse, south
of Tyler.  Appellant and McDowell both signed consent forms giving the officers permission to
search the Mercury Cougar automobile in which they had traveled.  In the search, the officers found
appellant's wallet near the front seat.  In it were two business cards of Luis Ramirez, and a
handwritten note containing directions to two residences in Austin and descriptions of three motor
vehicles.  According to Dawn Ramirez Holquin, Ramirez's ex-wife, the note was in Luis Ramirez's
handwriting and the residences and vehicles described belonged to her and her uncle.

	In the trunk of the searched automobile, a pair of Bugle Boy jeans were found.  After
testing, it was determined that the DNA from the blood stains on the jeans matched the DNA of the
deceased, Nemecio Nandin.  Ginger Herring, Luis Ramirez's girlfriend, testified that Ramirez owned
a pair of Bugle Boy jeans.  McDowell testified that when she and appellant were throwing things into
a trash dumpster before leaving San Angelo, she found the jeans in the trunk of the car, that they
were not appellant's, but he would not let her throw them away.

	A search of the Riordon house uncovered three shotguns--two twenty-gauge
shotguns and one sixteen-gauge shotgun.  Lana Riordan testified that the two twenty-gauge shotguns
were in working order, but not the sixteen-gauge shotgun.  She related that appellant and McDowell
had arrived at her house early on the morning of April 8, 1998, and when she returned that evening
one of the twenty-gauge shotguns had been moved from its regular place and left in another room.

	After his arrest, appellant wrote a letter to McDowell from the Tom Green County
jail.  McDowell kept the letter two months before revealing it to a friend.  The letter was introduced
into evidence describing, inter alia, how Nandin was killed by Ramirez in appellant's presence, how
the body was buried, how he was given money by Ramirez which had been taken out of Nandin's
wallet, and how he drove Nandin's truck to the Wal-Mart store.  Appellant relied upon some of the
self-serving statements in the letter introduced by the State to support his defense of duress. 
Appellant offered no defensive testimony.


Jury Charge--Parties


	In submitting the case to the jury, the trial court inter alia, instructed the jury
abstractly on the law of parties.  In paragraph 4, an application paragraph, the trial court charged the
jury on capital murder in accordance with the allegations of the indictment.  Then separating the
paragraph with an "OR," the trial court applied the law of parties to the capital murder.  In paragraph
5, the trial court likewise submitted the lesser included offense of murder in the same fashion.  The
trial court also charged the jury on the affirmative defense of duress.


Legal Sufficiency


	In his first point of error, appellant contends that the evidence is legally insufficient
to support the capital murder conviction because (1) the evidence is legally insufficient to show that
"he was the triggerman," and (2) insufficient to show his guilt as a party "because there was no
evidence that the principal, Luis Ramirez, committed the murder for remuneration."  By his
expressed contention, appellant challenges only the legal sufficiency of the evidence.


The Standard of Review


	The standard for reviewing the legal sufficiency of evidence is whether, viewing the
evidence in the light most favorable to the jury's verdict, any rational trier of fact could have found
beyond a reasonable doubt all the essential elements of the offense charged.  Jackson v. Virginia, 443
U.S. 307, 319 (1979); Skillern v. State, 890 S.W.2d 849, 879 (Tex. App.--Austin 1994, pet. ref'd). 
The standard of review is the same in both direct and circumstantial evidence cases.  King v. State,
895 S.W.2d 701, 703 (Tex. Crim. App. 1995); Green v. State, 840 S.W.2d 394, 401 (Tex. Crim.
App. 1992).  The State may prove its case by circumstantial evidence if it proves all of the elements
of the charged offense beyond a reasonable doubt.  Easley v. State, 986 S.W.2d 264, 271 (Tex.
App.--San Antonio 1998, no pet.) (citing Jackson, 443 U.S. at 319).  The sufficiency of the evidence
is determined from the cumulative effect of all the evidence; each fact in isolation need not establish
the guilt of the accused.  Alexander v. State, 740 S.W.2d 749, 758 (Tex. Crim. App. 1987).  It is
important to remember that all the evidence the jury was permitted, properly or improperly, to
consider must be taken into account in determining the legal sufficiency of the evidence.  Garcia v.
State, 919 S.W.2d 370, 378 (Tex. Crim. App. 1994); Johnson v. State, 871 S.W.2d 183, 186 (Tex.
Crim. App. 1993); Rodriguez v. State, 939 S.W.2d 211, 218 (Tex. App.--Austin 1997, no pet.).

	The jury is the exclusive judge of the facts proved, the weight to be given the
testimony, and the credibility of the witnesses.  See Tex. Code Crim. Proc. Ann. art. 38.04 (West
1979); Alvarado v. State, 912 S.W.2d 199, 207 (Tex. Crim. App. 1995); Adelman v. State, 828
S.W.2d 418, 421 (Tex. Crim. App. 1992).  The jury is free to accept or reject any or all of the
evidence presented by either party.  Saxton v. State, 804 S.W.2d 910, 914 (Tex. Crim. App. 1991). 
The jury maintains the power to draw reasonable inferences from basic facts to ultimate facts.  Welch
v. State, 993 S.W.2d 690, 693 (Tex. App.--San Antonio 1999, no pet.); Hernandez v. State, 939
S.W.2d 692, 693 (Tex. App.--Fort Worth 1997, pet. ref'd).  Moreover, the reconciliation of
evidentiary conflicts is solely within the province of the jury.  Heiselbetz v. State, 906 S.W.2d 500,
504 (Tex. Crim. App. 1995).

	Under the Jackson standard, the reviewing court is not to position itself as a thirteenth
juror in assessing the evidence.  Rather, it is to position itself as a final due process safeguard
insuring only the rationality of the fact finder.  Moreno v. State, 755 S.W.2d 866, 867 (Tex. Crim.
App. 1988).  It is not the reviewing court's duty to disregard, realign, or weigh the evidence.  Id.  The
jury's verdict must stand unless it is found to be irrational or unsupported by more than a "mere
modicum" of evidence, with such evidence being viewed in the Jackson light.  Id.  The legal
sufficiency of the evidence is a question of law.  McCoy v. State, 932 S.W.2d 720, 724 (Tex.
App.--Fort Worth 1996, pet. ref'd).


Law of Parties


	"A person is criminally responsible as a party to an offense if the offense is committed
by his own conduct, by the conduct of another for which he is criminally responsible, or by both." 
Tex. Pen. Code Ann. § 7.01(a) (West 1994); Goff v. State, 931 S.W.2d 537, 544 (Tex. Crim. App.
1996).  Thus, under the law of parties, the State is able to enlarge a defendant's criminal
responsibility to acts in which he may not be the primary actor.  Tex. Pen. Code Ann. § 7.01(b)
(West 1994); Rome v. State, 568 S.W.2d 298, 300 (Tex. Crim. App. 1997) (op. on reh'g); Rosillo
v. State, 953 S.W.2d 808, 812 (Tex. App.--Corpus Christi 1997, pet. ref'd).  The law of parties may
be applied even though no such allegation is contained in the indictment.  Jackson v. State, 898
S.W.2d 896, 898 (Tex. Crim. App. 1995); Montoya v. State, 810 S.W.2d 160, 165 (Tex. Crim. App.
1989);  Pitts v. State, 569 S.W.2d 898, 900 (Tex. Crim. App. 1978); Howard v. State, 966 S.W.2d
821, 824 (Tex. App.--Austin 1998, pet. ref'd).

	Section 7.02 of the Texas Penal Code provides in pertinent part:



  	a person is criminally responsible for an offense committed by the conduct of
another if


	

	* * * 



  		acting with intent to promote or assist the commission of the offense, he
solicits encourages, directs, aids, or attempts to aid the other person to
commit the offense.




Tex. Pen. Code Ann. § 7.02(a)(3) (West 1994).

	The test for determining when an instruction should be submitted to the jury on the
law of parties was set forth in McCuin v. State, 505 S.W.2d 827, 830 (Tex. Crim. App. 1974), and
quoted in Goff, 931 S.W.2d at 544-45.  It need not be restated here.  When the evidence is sufficient
to support both the primary actor and party theories of liability, as in the instant case, the trial court
does not err in submitting an instruction on the law of parties.  Ransom v. State, 920 S.W.2d 288,
302 (Tex. Crim. App. 1994); Webb v. State, 760 S.W.2d 263, 267, 275 (Tex. Crim. App. 1988);
Rosillo, 953 S.W.2d at 814.  Evidence is sufficient to convict under the law of parties if the
defendant is physically present at the commission of the offense and encourages its commission by
words or other agreement.  Ransom, 920 S.W.2d at 302; Rosillo, 953 S.W.2d at 814.  Clearly, there
was more evidence here than encouragement by appellant Bell so as to constitute him a party, if in
fact Luis Ramirez was the primary actor.

	The trial court submitted the theory to the jury that appellant was the primary actor
in killing Nandin for remuneration as alleged in the indictment.  In the alternative, the trial court
submitted the theory of parties if the jury found that Luis Ramirez was the primary actor and that
appellant for remuneration aided Ramirez in the killing.

	The jury returned a general verdict--"We, the jury find the defendant EDWARD
BELL, guilty of CAPITAL MURDER as charged in the indictment."

	Appellant argues, however, that the evidence is insufficient to show that he was the
primary actor as alleged.  Appellant told Hoogstra that he had been hired to kill a fireman for $1,000. 
He later told Hoogstra that "he (appellant) had done it" and to watch the news.  Still later, appellant
told Hoogstra that "they" had lured Nandin to the location of the killing, "they" had handcuffed
Nandin, and "they" had blown Nandin's brains out with a shotgun.  Nandin died from two shotgun
blasts, one of which was a twenty-gauge shotgun.  The medical examiner, because of the body's
condition, could not determine what type of shotgun inflicted the other wound.  Two twenty-gauge
shotguns in working condition were found at the location of the murder.  The medical examiner was
unable to determine if the same shotgun was used to inflict both wounds.  The deadly blasts could
have been fired from separate shotguns, one by appellant and one by Ramirez, or could have been
fired by the same shotgun.  The jury as the trier of fact could have found that appellant was a primary
actor.  In fact, the jury could have found from the evidence that appellant and Ramirez were both
primary actors.  It was only later that appellant told Hoogstra that Ramirez pulled the trigger.  This
fact was reiterated in appellant's jail letter to McDowell.  The jury was not required to accept this
evidence that Ramirez was the lone gunman.  Given all the circumstances, we reject appellant's
claim that the evidence was insufficient for a rational jury to find beyond a reasonable doubt that
appellant was a primary actor in this capital murder.

	Appellant also urges that if the evidence was sufficient to show that he was a party
to the offense for remuneration, the evidence is insufficient to show that he was guilty of capital
murder.  Appellant argues that this is so because the indictment's allegation of an aggravating
element making murder a capital offense was remuneration or the promise of remuneration.

	Appellant contends that the primary actor was Ramirez and that the court's charge
did not require the jury to find that Ramirez murdered Nandin for remuneration or the promise of
remuneration, and that without that requirement and a finding by the jury, the offense was not a
capital offense.  Therefore, appellant asserts that if he is guilty as a party to the offense, it is not a
capital offense of which he is guilty and that the conviction imposed cannot stand.  Appellant
overlooks the law of parties and the fact that section 19.03(a)(3) provides that a person who commits
murder and "commits the murder for remuneration or the promise of remuneration or employs
another to commit the murder for remuneration or the promise of remuneration" is guilty of capital
murder.  Tex. Pen. Code Ann. § 19.03(a)(3) (West 1994). (Emphasis added.)  We do not understand
appellant to challenge the remuneration issue.  In this regard, appellant cites no authorities and there
is no argument except that inherent in his assertion.  This briefing fails to comply with Rule 38.1(h)
of the Texas Rules of Appellate Procedure.

	When different theories are submitted to the jury in the disjunctive as in the instant
case, a general verdict is sufficient if the evidence supports one of the theories.  Fuller v. State, 827
S.W.2d 919, 931 (Tex. Crim. App. 1992); Kitchens v. State, 823 S.W.2d 256, 257-58 (Tex. Crim.
App. 1991); see also Ladd v. State, 3 S.W.3d 547, 557 (Tex. Crim. App. 1999); Rabbani v. State,
847 S.W.2d 555, 558-59 (Tex. Crim. App. 1995).  We conclude that a rational jury could have found
beyond a reasonable doubt all the essential elements of the offense charged under either of the two
theories submitted to the jury.  The first point of error is overruled.


Jury Charge Error Claimed


	In his second point of error, appellant contends that the "trial court committed
reversible error by overruling appellant's objection to the application paragraph of the charge."  In
his brief, appellant directs us to the application of the law of parties to the facts in the second part
of paragraph 4 of the jury charge.  Appellant, in his trial objection, contended that the State was not
entitled to a charge on the law of parties, that appellant was entitled to a "straight up" charge--"he
either did capital murder or he did not, under this indictment."  Appellant's argument was that he
was charged with capital murder for remuneration or promise of remuneration and that Luis
Ramirez, the primary actor in any parties charge, was not shown to have committed murder for
remuneration or promise of remuneration.  Therefore, appellant contends that he could not be a party
to the offense committed by Ramirez.  This is the same contention that appellant advanced in his
challenge to the sufficiency of the evidence.  Murder is defined in section 19.02(b)(1).  Tex. Pen.
Code Ann. § 19.02(b)(1) (West 1994).  Murder becomes capital murder if it is committed under
certain circumstances, limited and set forth in section 19.03.  Id. § 19.03.  Appellant was charged
under section 19.03(a)(3) which provides that murder becomes a capital offense if "the person
commits the murder for remuneration or promise of remuneration or employs another to commit the
murder for remuneration of promise of remuneration."  (Emphasis added.)  As noted earlier, the law
of parties may be applied even without any parties allegation in the indictment.  Pitts, 569 S.W.2d
at 900.  There was evidence that Ramirez employed appellant to murder Nandin for remuneration
or promise of remuneration, thus indicating his guilt under the very same subsection of section 19.03
under which appellant was charged.  In addition, the evidence shows Ramirez was a primary actor
in the murder of Nandin along with his hired help--appellant.	Appellant cites no authorities
supporting his contention (2) and his argument is of little persuasion.  We find no error in the trial
court's action in overruling the objection to the jury charge.  The second point of error is overruled.


The Note


	In the third point of error, appellant contends that the "trial court erred in admitting
into evidence an extraneous offense or bad act, in violation of Rule 403 of the Rules of Evidence." 
Despite the language, appellant presents an issue under Rule 403, not Rule 404(b). (3)  Appellant has
reference to the introduction of a handwritten note found in appellant's wallet during the search of
the Mercury Cougar automobile in east Texas when appellant was arrested.

	Before the jury, Jack Allen, Special Investigator of the Texas Department of Public
Safety, identified the note on a yellow piece of paper and two business cards of Luis Ramirez as
being found in the wallet.  When the State sought to introduce the note into evidence during the re-direct examination of Dawn Ramirez Holquin, a hearing in the absence of the jury was conducted. 
The trial court overruled appellant's Rule 403 objection and his subsequently urged Rule 404(b)
objection.

	Appellant complains that the introduction of the note "permitted the jury to speculate
about an unaccomplished extraneous offense, the murder of Luis Ramirez's ex-wife."  Appellant
relies upon the note and a threat made by Ramirez to his ex-wife, Dawn.  Appellant concedes,
however, that the note is relevant evidence. (4)
  He argues that in light of Rule 403 the note's probative
value was outweighed by the danger of unfair prejudice and the needless presentation of cumulative
evidence.

	The note in question, which was in the handwriting of Ramirez according to Dawn,
gave highway directions from Brady to Austin and further directions to two different street addresses
in Austin and a general description of three motor vehicles.  Dawn testified that the street addresses
were those of her home and her uncle's home.  Two of the vehicles described belonged to Dawn's
uncle and the other was hers.

	Dawn had earlier testified that Ramirez had told her it drove him crazy to think of her
with another man, and that if he found her with another man that he would kill him "and come after
her."

	Rule 403 provides:


	Although relevant, evidence may be excluded if its probative value is substantially
outweighed by the danger of unfair prejudice, confusion of the issues, or misleading
the jury, or by consideration of undue delay, or needless presentation of cumulative
evidence.



Tex. R. Evid. 403


The factors listed in Rule 403 are the only ones to be balanced against probative
value.  The absence of "such as" or a similar introductory phrase indicates that the
listed factors are not merely examples.  The first three factors--unfair prejudice,
confusion and misleading--are termed "dangers," whereas delay and cumulativeness
are referred to as "considerations."  The former are weightier because they threaten
the integrity of the fact-finding process, whereas the latter are concerned with
efficiency.



2A Steven Goode, et al., Texas Practice: Courtroom Handbook on Texas Evidence 283 (2001 ed.).

	Rule 401 defines "relevant evidence."  Tex. R. Evid 401. (5)  Rule 402 pronounces all
relevant evidence admissible unless barred by certain constitutional and statutory provisions.  Tex.
R. Evid. 402.  Rule 403 places discretion in the trial court to temper somewhat the breadth of Rule
402.  The trial court is authorized to weigh the probative value of relevant evidence against the
countervailing dangers and considerations set forth in Rule 403.  Rule 403 favors the admissibility
of evidence in close cases in keeping with the presumptions of admissibility of relevant evidence. 
Moreno v. State, 22 S.W.3d 482, 487 (Tex. Crim. App. 1999) (quoting Montgomery, 810 S.W.2d
at 389); Mozon v. State, 991 S.W.2d 841, 847 (Tex. Crim. App. 1999).  The standard of review of
a trial court's decision under Rule 403 is an abuse of discretion.  The trial court's ruling will be
upheld so long as it is within "the zone of reasonable disagreement."  Lane v. State, 933 S.W.2d 504,
520 (Tex. Crim. App. 1996); see also Moreno, 22 S.W.3d at 487; Poole v. State, 974 S.W.2d 892,
897 (Tex. App.--Austin 1998, pet. ref'd).


Unfair Prejudice


	We turn now to appellant's claim that the probative value of the note was
substantially outweighed by the danger of unfair prejudice.  Any evidence presented by the
prosecution will generally be prejudicial to the defendant in a criminal case.  Wyatt v. State, 25
S.W.3d 18, 26 (Tex. Crim. App. 2000); Ford v. State, 26 S.W.3d 669, 675 (Tex. App.--Corpus
Christi 2000, no pet.). "In one sense, almost every piece of evidence introduced at trial can be said
to be prejudicial to one side or the other."  Blakeney v. State, 911 S.W.2d 508, 516 (Tex.
App.--Austin 1995, no pet.).  Consequently, only evidence that is unfairly prejudicial is excluded. 
Cabellero v. State, 919 S.W.2d 919, 922 (Tex. App.--Houston [14th Dist.] 1996, pet. ref'd);
Blakeney, 911 S.W.2d at 516.  Unfair evidence is that evidence which has an undue tendency to
suggest a decision be made on an improper basis, commonly an emotional one.  Montgomery, 810
S.W.2d at 389; Ford, 919 S.W.2d at 922.

	Appellant contends that the note in Ramirez's handwriting and found in appellant's
possession, when taken with Ramirez's threat to Dawn, could have caused the jury to speculate a
second conspiracy was afoot.  Thus, the introduction of the note resulted in unfair prejudice.  The
note was not signed and not dated.  It was not addressed to anyone.  Dawn moved to Austin in
December 1997.  She testified that Ramirez had visitation rights with their children and he had
returned them to Austin one weekend.  Dawn related that Nandin visited her in Austin the last
weekend in March 1998 before his death on April 8, 1998.  The time of the threat against all of
Dawn's boyfriends was not established, but it was apparently after the Ramirez divorce in 1995.

	Appellant urges that we apply the four-pronged relevance criteria set forth in
Montgomery, 810 S.W.2d at 389-91, for determining whether the probative value of an extraneous
offense is substantially outweighed by the danger of unfair prejudice.  Appellant overlooks the fact
that the introduction of the note, even taken together with the earlier threat by Ramirez, does not
constitute an extraneous offense by appellant Bell (6) to which the relevance criteria would apply. (7)

	The probative value of the note found in appellant's wallet with Ramirez's business
cards was not substantially outweighed by the danger of unfair prejudice.


Cumulative Evidence


	Unlike the "danger" of unfair prejudice, the "consideration" of the needless
presentation of cumulative evidence found in Rule 403 is concerned with the efficiency of judicial
proceedings rather than the threat of inaccurate decisions.  See Alvarado v. State, 912 S.W.2d 199,
212-13 (Tex. Crim. App. 1998).  "Cumulativeness" alone is not a basis for the exclusion of evidence
under Rule 403.  The rule speaks to the "needless presentation" of such evidence.  In this regard, trial
courts should be sensitive to a party's "right" to make its case in the most persuasive manner
possible.  Etheridge v. State, 903 S.W.2d 1, 20-21 (Tex. Crim. App. 1994); see also generally 1
Steven Goode, et al., Texas Practice: Texas' Rules of Evidence: Civil and Criminal § 403.2 (1993).

	Cumulative evidence suggests that other evidence on the same point has already been
received.  But this alone is not a basis for exclusion.  The cumulative effect of the evidence may
heighten rather than reduce its probative value.  Further, evidence that may be cumulative as to one
point may not have that characteristic as to another material point.  Goode, § 403.2.

	In this "murder for hire scenario", the State bore the burden of proof beyond a
reasonable doubt and the link between appellant and Ramirez was of vital importance.  The strongest
evidence of a link came from Hoogstra and appellant's jail letter introduced by the State.  Appellant
impeached and discredited Hoogstra by showing, inter alia, that Hoogstra had received hundreds of
dollars from several law enforcement agencies early on in the investigation.  Appellant also used
statements in his jail letter to support his defense of duress.  If it can be argued that appellant's
possession of the note written by Ramirez was cumulative evidence of the link between the two, it
was not inadmissible on the basis of needless presentation of cumulative basis.  Moreover, the State
urges that the note was admissible to rebut the defense of duress.

	We conclude that the trial court did not abuse its discretion in overruling appellant's
Rule 403 objection.  The third point of error is overruled.

	The judgment is affirmed.



	                                                                                    

	John F. Onion, Jr., Justice

Before Justices Kidd, Puryear and Onion*

Affirmed

Filed:   November 29, 2001

Do Not Publish











*	Before John F. Onion, Jr., Presiding Judge (retired), Court of Criminal Appeals, sitting by
assignment.  See Tex. Gov't Code Ann. §&nbsp;74.003(b) (West 1998).
1.   The name was also spelled "Karla" in the record.
2.   Appellant does cite Hutch v. State, 922 S.W.2d 166, 170-71 (Tex. Crim. App. 1996), for
the nature of errors which result in "egregious harm."  "Egregious harm" applies to a review of
charge error which was not preserved by timely objection.  See Almanza v. State, 686 S.W.2d 157,
171 (Tex. Crim. App. 1985) (op. on reh'g).  Here, appellant timely objected to the court's charge.
3.   Tex. R. Evid. 404(b).
4.   	Appellant's brief states:


		The note itself was undoubtedly relevant evidence establishing a link between
Ramirez and appellant.

5.   Rule 401 states:


	"Relevant evidence" means evidence having any tendency to make the existence
of any fact that is of consequence to the determination of the action more
probable or less probable than it would be without the evidence.
6.   See Brown v. State, 6 S.W.3d 571, 575 (Tex. App.--Tyler 1999, pet. ref'd); Conner v.
State, 891 S.W.2d 668, 671 (Tex. App.--Houston [1st Dist.] 1994, no pet.).
7.   Appellant acknowledges that subsequent to the introduction of the note, the trial court
refused to admit the testimony of Ginger Herring, Ramirez's girlfriend to the effect that she
overheard Ramirez and appellant talking about going to Austin and killing Ramirez's ex-wife, her
uncle and possibly her mother.  This disallowed evidence was never before the jury.


